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                     UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA )
                         )
     v.                  )                      Cr. No. 09-10166-MLW
                         )
SALVATORE F. DIMASI and )
RICHARD W. MCDONOUGH,    )
     Defendants.         )


                                   ORDER
WOLF, D.J.                                            September 16, 2011

      The court has received defendants' Motion to Enlarge the Time

to   Conduct   Hearing   for   Bail   Pending    Appeal   (the   "Motion").

Defendants request that the September 23, 2011 hearing on their

request for bail pending appeal be postponed until the full

transcript of the six-week trial is prepared.

      On June 24, 2011, the court granted defendant Salvatore

DiMasi's request for Criminal Justice Act funding for the full

trial transcript and stated that:

      It is in the interest of justice to have the preparation
      of the transcripts needed for appeal begin promptly in
      order to minimize the time necessary for this case to be
      resolved. In preparing the requested transcripts,
      priority should be given to transcripts of the trial and
      the transcripts of any pretrial proceedings designated by
      DiMasi, on or before June 29, 2011, as particularly
      important.

June 24, 2011 Order. DiMasi did not designate any transcript(s) for

priority preparation.

      Defendants have nevertheless been provided with the transcript

of the government's rebuttal argument, which they contend provides

a basis for granting them bail pending appeal. See Sept. 6, 2011
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Order. The court is informed that the transcripts of defendant

Joseph Lally's testimony should be available to the parties before

September 23, 2011.

     The court does not now perceive a need for the full trial

transcript in order to decide defendants' request for bail pending

appeal. Accordingly, it is hereby ORDERED that the Motion (Docket

No. 659) is DENIED without prejudice to possible reconsideration at

the September 23, 2011 hearing.




                                               /s/ Mark L. Wolf
                                        UNITED STATES DISTRICT JUDGE




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